UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________x

J.S.,
                       Plaintiff,

               -against-                                  19-cv-2099-NRB

DALTON SCHOOLS, INC. and                                  NOTICE OF VOLUNTARY
GARDNER P. DUNNAN,                                        DISMISSAL PURSUANT TO
                                                          RULE 41(a)(1)(A)(i)
                  Defendants.
______________________________________x


        PLEASE TAKE NOTICE THAT, Plaintiff J.S., by and through her attorneys, Cuti

Hecker Wang LLP, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby gives

notice that the above-captioned action is voluntarily dismissed, without prejudice, against all

defendants, Dalton Schools, Inc. and Gardner P. Dunnan, who have not answered or moved for

summary judgment.

Dated: New York, New York
       March 7, 2019

                                                     CUTI HECKER WANG LLP


                                                     By: /s/Alexander Goldenberg           .
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